Case 4:17-cv-03806-CW Document 82-11 Filed 07/10/18 Page 1 of 6
Case 4:17-cv-03806-CW Document 82-11 Filed 07/10/18 Page 2 of 6
Case 4:17-cv-03806-CW Document 82-11 Filed 07/10/18 Page 3 of 6
Case 4:17-cv-03806-CW Document 82-11 Filed 07/10/18 Page 4 of 6
                                          Case 4:17-cv-03806-CW Document 82-11 Filed 07/10/18 Page 5 of 6



                                      1                                    CERTIFICATE OF SERVICE

                                      2          I, the undersigned, am a resident of the State of California, over the age of eighteen years,
                                          and not a party to the within action. My business address is: Gordon Rees Scully Mansukhani,
                                      3   LLP, 275 Battery Street, Suite 2000, San Francisco, CA 94111. On the date below, I served the
                                          within document:
                                      4
                                                 DEFENDANTS QUALITY MERCHANT SERVICES, INC. AND MICHAEL
                                      5          ALIMENTO’S SUPPLEMENTAL RESPONSES TO PLAINTIFF’S
                                                 INTERROGATORIES
                                      6

                                      7       by transmitting via facsimile the document(s) listed above to the fax number(s) set
                                               forth below on this date before 5:00 p.m.

                                      8       by personally arranging the hand-delivery of the document(s) listed above to the
                                               person(s) at the address(es) set forth below.
                                      9
                                              by placing the document(s) listed above in a sealed envelope with postage thereon
                                               fully prepaid, in United States mail in the State of California at San Francisco,
                                     10        addressed as set forth below.
                                     11
                                              by placing a true copy thereof enclosed in a sealed envelope, at a station designated
Gordon Rees Scully Mansukhani, LLP




                                               for collection and processing of envelopes and packages for overnight delivery by
   275 Battery Street, Suite 2000




                                     12        FedEx as part of the ordinary business practices of Gordon & Rees described below,
     San Francisco, CA 94111




                                               addressed as follows:
                                     13
                                          ⌧    by Electronic Transmission based on a court order or an agreement of the parties to accept
                                               service by email or electronic transmission. I am readily familiar with Gordon & Rees’s
                                     14        practices for transmitting documents by electronic mail via internet service provider. I caused
                                               the documents to be sent to the persons at the email addresses listed for each addressee on the
                                     15        following service list. I did not receive, within a reasonable time after the transmission, any
                                               electronic message or other indication that the transmission was unsuccessful.
                                     16

                                     17       by transmitting via ELECTRONIC FILING within the ECF System for the USDC – Northern
                                               District of California, the document(s) listed above on this date before 5:00 p.m.

                                     18
                                                                          SEE ATTACHED SERVICE LIST
                                     19
                                                 I am readily familiar with the firm’s practice of collection and processing correspondence
                                     20   for mailing. Under that practice it would be deposited with the U.S. Postal Service on that same
                                          day with postage thereon fully prepaid in the ordinary course of business. I am aware that on
                                     21   motion of the party served, service is presumed invalid if postal cancellation date or postage
                                          meter date is more than one day after the date of deposit for mailing in affidavit.
                                     22
                                                  I declare under penalty of perjury under the laws of the State of California and the United
                                     23   States of America that I am employed in the office of a member of the Bar of this Court at whose
                                          direction this service was made and that the above is true and correct.
                                     24
                                                 Executed on May 17, 2018, at San Francisco, California.
                                     25

                                     26

                                     27                                                                           Kibibi N. Shaw
                                     28
                                                                                            -1-
                                                 CERTIFICATE OF SERVICE – DEFENDANTS’ SUPP RESPONSES TO PLAINTIFFS’ FROGS
                                                                          CASE NO. 4:17-CV-0386-CW
                                          Case 4:17-cv-03806-CW Document 82-11 Filed 07/10/18 Page 6 of 6



                                      1                                            SERVICE LIST
                                      2
                                          Edward A. Broderick, Esq.                       Counsel to Plaintiffs
                                      3   Anthony I Paronich, Esq.                        DR. TIMOTHY COLLINS and
                                          Broderick & Paronich, P.C.                      SIDNEY NAIMAN
                                      4   99 High Street, Suite 304
                                          Boston, MA 02110
                                      5   [p] (508) 221-1510
                                          [f] (617) 830-0327
                                      6   Emails: ted@broderick-law.com,
                                          anthony@broderick-law.com
                                      7

                                      8   Jon Bernhard Fougner, Esq.                      Counsel to Plaintiffs
                                          600 California Street, 11th Floor               DR. TIMOTHY COLLINS and
                                      9   San Francisco, CA 94108                         SIDNEY NAIMAN
                                          (434) 623-2843
                                     10   (206) 338-0783 fax
                                          Email: Jon@FougnerLaw.com
                                     11
Gordon Rees Scully Mansukhani, LLP




                                          Andrew Heidarpour, Esq.                         Counsel to Plaintiff
                                          Heidarpour Law Firm                             SIDNEY NAIMAN
   275 Battery Street, Suite 2000




                                     12
     San Francisco, CA 94111




                                          1300 Pennsylvania Ave NW 190-318
                                     13   Washington, DC 20004
                                          202-234-2727
                                     14   Email: Aheidarpour@hlfirm.com

                                     15   Matthew P. McCue, Esq.                          Counsel to Plaintiff
                                          The Law Office of Matthew P. McCue              SIDNEY NAIMAN
                                     16   1 South Avenue, Suite 3
                                          Natick, MA 01760
                                     17   (508) 655-1415
                                          (508) 319-3077 fax
                                     18   Email: mmccue@massattorneys.net

                                     19   Beth-Ann E. Krimsky, Esq.                       Counsel to Defendant
                                          Lawren A. Zann, Esq.                            TOTAL MERCHANT SERVICES, INC.
                                     20   Greenspoon Marder LLP
                                          200 East Broward Boulevard, Suite 1800
                                     21   Fort Lauderdale, FL 33301
                                          (954) 491-1120
                                     22   Emails: beth-ann.krimsky@gmlaw.com,
                                          lawren.zann@gmlaw.com
                                     23
                                          James Harold Vorhis, Esq.                       Counsel to Defendant
                                     24   Nossaman LLP                                    TOTAL MERCHANT SERVICES, INC.
                                          50 California Street, 34th Floor
                                     25   San Francisco, CA 94111
                                          415-398-3600
                                     26   Email: jvorhis@nossaman.com
                                     27
                                     28
                                                                                        -2-
                                                  CERTIFICATE OF SERVICE – DEFENDANTS’ SUPP RESPONSES TO PLAINTIFFS’ FROGS
                                                                           CASE NO. 4:17-CV-0386-CW
